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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA
CASE NO. 8:20-cr-165-T-35AAS
v. 18 U.S.C. § 371
42 U.S.C. § 1320a-7b(b)

EDWARD CHRISTOPHER WHITE, JR.

SUPERSEDING INFORMATION

 

The Acting United States Attorney charges:

COUNT ONE
(Conspiracy)

A. Introduction
‘At all times material to this Information:

The Defendant and Related Entities

 

1. Defendant EDWARD CHRISTOPHER WHITE, JR. was a
resident of Panama City Beach, Florida.

2. Mediverse, LLC (“Mediverse”) was a limited liability company
formed under the laws of the State of Florida with its principal place of business
in Panama City Beach, Florida and Miramar Beach, Florida. EDWARD
CHRISTOPHER WHITE, JR. controlled and operated Mediverse.

3. Helix, LLC (“Helix”) was limited liability company formed under

the laws of the State of Florida with its principal place of business located in

 
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Dade City Beach, Florida; Panama City Beach, Florida; and Miramar Beach,
Florida. EDWARD CHRISTOPHER WHITE, JR. co-owned Helix.

4. Whitewater, LLC (“Whitewater”) was a limited liability company
formed under the laws of the State of Florida with its principal place of business
located in Panama City Beach, Florida. EDWARD CHRISTOPHER WHITE,
JR. owned and controlled Whitewater.

5. White Medical, LLC (“White Medical”) was a limited liability
company formed under the laws of the State of Florida with its principal place
of business located in Panama City Beach, Florida) EDWARD
CHRISTOPHER WHITE, JR. owned and controlled White Medical.

6. Florida Pharmacy Solutions (“FPS”) was a company formed
under the laws of the State of Florida with principal places of business in Dade
City and Zephyrhills, Florida.

7. James Wesley Moss (“Moss”) was a resident at various times of
Panama City Beach and Zephyrhills, Florida. Moss was a co-owner of FPS and
Helix.

8. David Byron Copeland (“Copeland”) was a resident of
Tallahassee, Florida and was a co-owner of FPS, and he also served as a

Regional Sales Consultant for FPS.

 
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9. TDSNOLEI, LLC (“TDSNOLEI”) was a limited liability
company formed. under the laws of the State of Florida with its principal place
of business located in Tallahassee, Florida. Copeland owned and controlled
TDSNOLE1.

10. Michael Alton Gordon (“Gordon”) was a resident of Tallahassee,
Florida and worked as a pharmaceutical sales and marketing representative and

as a Service Consultant for FPS.

11. Mike Gordon, LLC was a limited liability company formed under
the laws of the State of Florida with its principal place of business located in
Tallahassee, Florida. Gordon owned and controlled Mike Gordon, LLC.

12. Balanced RX, LLC (“Balanced”) was a limited liability company
formed under the laws of the State of Florida law with its principal place of
business located in Tampa, Florida. Gordon owned and controlled Balanced.

13. LabSolutions, LLC (“LabSolutions”) was a Medicare provider
with its principal place of business located in Atlanta, Georgia that purported
to provide genetic testing to Medicare beneficiaries.

14. Personalized Genetics, LLC (“Personalized Genetics”) was a
Medicare provider with its principal place of business located in Pittsburgh,
Pennsylvania that purported to provide genetic testing to Medicare

beneficiaries.

 
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15. Med Health Services Lab (“MHS”) was a Medicare provider with
its principal place of business located in Monroeville, Pennsylvania that
purported to provide genetic testing to Medicare beneficiaries.

16. Trinity Clinical Laboratories (“Trinity”) was a Medicare provider
with its principal place of business located in Lewisville, Texas, that purported
to provide genetic testing to Medicare beneficiaries.

TRICARE Program

17. The TRICARE program (“TRICARE”) was a health care
benefit program of the United States Department of Defense (“DOD”),
Military Health System, which provided coverage for DOD beneficiaries
worldwide, including active duty service members, National Guard and
Reserve members, retirees, their families, and survivors. Individuals who
received health care benefits through TRICARE were referred to as TRICARE
beneficiaries. The Defense Health Agency (“DHA”), an agency of the DOD,
was responsible for overseeing and administering TRICARE.

18. TRICARE was a “health care benefit program,” as defined by
18 U.S.C. § 24(b), and a “Federal health care program,” as defined by 42
U.S.C. § 1320a-7b(f).

19. TRICARE provided coverage for certain prescription drugs,
including certain compounded drugs that were medically necessary and

prescribed by a licensed medical professional. Express Scripts, Inc. (“Express

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Scripts”) administered TRICARE's prescription drug benefits.

20, IRICARE beneficiaries could fill their prescriptions through
military pharmacies, TRICARE's home delivery program, network
pharmacies, and non-network pharmacies. If a beneficiary chose a network
pharmacy, the pharmacy would collect any applicable co-pay from the
beneficiary, dispense the drug to the beneficiary, and submit a claim for
reimbursement to Express Scripts, which would in tum adjudicate the claim
and reimburse the pharmacy directly or through a Pharmacy Services
Administrative Organization (“PSAO”). To become a network pharmacy, a
pharmacy agreed to be bound by, and comply with, all applicable State and
Federal laws, specifically including those addressing fraud, waste, and abuse.

Compounded Medication

21. In general, compounding was a practice in which a licensed
pharmacist, a licensed physician, or, in the case of an outsourcing facility, a
person under the supervision of a licensed pharmacist, combined, mixed, or
altered ingredients of a drug or multiple drugs to create a prescription tailored
to the needs of an individual patient. Compounded drugs were not approved
by the U.S. Food and Drug Administration (“FDA”); that is, the FDA did not
verify the safety, potency, effectiveness, or manufacturing quality of
compounded drugs. The Florida State Board of Pharmacy regulated the
practice of compounding in the State of Florida.

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22. Compounded drugs may have been prescribed by a physician
when an FDA-approved drug did not meet the health needs of a particular
patient. For example, if a patient was allergic to a specific ingredient in an
FDA-approved medication, such as a dye or a preservative, a compounded drug
could be prepared excluding the substance that triggered the allergic reaction.
Compounded drugs may also have been prescribed when a patient could not
consume a medication by traditional means, such as an elderly patient or child
who could not swallow an FDA-approved pill and needed the drug in a liquid
form that was not otherwise available.

Medicare Program

23. The Medicare Program (“Medicare”) was a federally funded
program that provided free or below-cost health care benefits to certain
individuals, primarily the elderly, blind, and disabled. The benefits available
under Medicare were governed by federal statutes and regulations. The United
States Department of Health and Human Services (“HHS”), through its agency,
the Centers for Medicare and Medicaid Services (“CMS”), oversaw and
administered Medicare. Individuals who received benefits under Medicare

were commonly referred to as Medicare beneficiaries.

 
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24. Medicare was a “health care benefit program,” as defined by 18
U.S.C. § 24(b), and a “Federal health care program,” as defined by 42 U.S.C.
§ 1320a-7b(f).

25. Medicare programs covering different types of benefits were
separated into different program “parts.” “Part A” of Medicare covered health
services provided by hospitals, skilled nursing facilities, hospices, and home

health agencies. “Part B” covered, among other things, medical services

provided by physicians, medical clinics, laboratories, and other qualified health
care providers, such as office visits, minor surgical procedures, and laboratory
testing, that were medically necessary and ordered by licensed medical doctors
or other qualified health care providers.

26. Physicians, clinics, and other health care providers, including
laboratories, that provided services to beneficiaries were able to apply for and
obtain a “provider number.” A health care provider that received a Medicare
provider number was able to file claims with Medicare to obtain reimbursement
for service provided to beneficiaries.

27. A Medicare claim was required to contain certain important
information, including: (a) the Medicare beneficiary’s name and Health
Insurance Claim Number (“HICN”); (b) a description of the health care benefit,

item, or service that was provided or supplied to the beneficiary; (c) the billing

 
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codes for the benefit, item, or service; (d) the date upon which the benefit, item,
or service was provided or supplied to the beneficiary; and (e) the name of the
referring physician or other health care provider, as well as a unique identifying
number, known either as the Unique Physician Identification Number
(“UPIN”) or National Provider Identifier (“NPI”). The claim form could be

submitted in hard copy or electronically.

Part B Coverage and Regulations
28. CMS acted through fiscal agents called Medicare administrative

contractors (“MACs”), which were statutory agents for CMS for Medicare Part
B. The MACs were private entities that reviewed claims and made payments
to providers for services rendered to Medicare beneficiaries. The MACs were
responsible | for processing Medicare claims arising within their assigned
geographical area, including determining whether the claim was for a covered
service.

29. The MAC for the consolidated Medicare jurisdictions that covered
Florida was First Coast Service Options, Inc.

30. To receive Medicare reimbursement, providers had to make
appropriate application to the MAC and execute a written provider agreement.

The Medicare provider enrollment application, CMS Form 855B, was required

 
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to be signed by an authorized representative of the provider. CMS Form 855B

contained a certification that stated:
I agree to abide by the Medicare laws, regulations, and program
instructions that apply to this provider. The Medicare laws,
regulations, and program instructions are available through the
Medicare contractor. I understand that payment of a claim by
Medicare is conditioned upon the claim and the underlying
transaction complying with such laws, regulations and program
instructions (including but not limited to, the federal anti-kickback

statute and the Stark law), and on the provider’s compliance with
all applicable conditions of participation in Medicare.

31. CMS Form 855B contained additional certifications that the
provider “will not knowingly present or cause to be presented a false or
fraudulent claim for payment by Medicare and will not submit claims with
deliberate ignorance or reckless disregard of their truth or falsity.”

32. Payments under Part B were often made directly to the health care
provider rather than to the patient or beneficiary. For this to occur, the
beneficiary would assign the right of payment to the health care provider. Once
such an assignment took place, the health care provider would assume the
responsibility to submitting claims to, and receiving payments from, Medicare.

Cancer Genomic Testing
33. Cancer genomic (“CGx”) testing used DNA sequencing to detect

mutations in genes that could indicate a higher risk of developing certain types

 
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of cancers in the future. CGx testing was not a method of diagnosing whether
an individual presently had cancer.

34. Medicare did not cover diagnostic testing that was “not reasonable
and necessary for the diagnosis or treatment of illness or injury or to improve
the functioning of a malformed body member.” 42 U.S.C. § 1395y(a)(1)(A).
Except for certain statutory exceptions, Medicare did not cover “examinations
performed for a purpose other than treatment or diagnosis of a specific illness,
symptoms, complaint or injury.” 42 C.F.R. §411.15(a)(1). Among the statutory
exceptions covered by Medicare were cancer screening tests such as “screening
mammography, colorectal cancer screening tests, screening pelvic exams, [and]
prostate cancer screening tests.” Id.

35. If diagnostic testing was necessary for the diagnosis or treatment
of illness or injury or to improve the functioning of a malformed body member,
Medicare imposed additional requirements before covering the testing. Title
42, Code of Federal Regulations, Section 410.32(a) provided, “Atl diagnostic x-
ray tests, diagnostic laboratory tests, and other diagnostic tests must be ordered
by the physician who is treating the beneficiary, that is the physician who
furnishes a consultation or treats a beneficiary for a specific medical problem

and who uses the results in the management of the beneficiary’s specific medical

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problem.” Jd. “Tests not ordered by the physician who is treating the
beneficiary are not reasonable and necessary.” Id.

36. Because CGx testing did not diagnose cancer, Medicare only
covered such tests in limited circumstances, such as when a beneficiary had
cancer and the beneficiary’s treating physician deemed such testing necessary
for the beneficiary’s treatment of that cancer. Medicare did not cover CGx
testing for beneficiaries who did not have cancer or lacked symptoms of cancer.

Telemedicine

37. Telemedicine provided a means of connecting patients to doctors
by using telecommunications technology, such as the internet or telephone, to
interact with a patient.

38. Telemedicine companies provided telemedicine or telehealth
services to individuals by hiring doctors and other health care providers.
Telemedicine companies typically paid doctors a fee to conduct consultations
with patients. In order to generate revenue, telemedicine companies typically
either billed insurance or received payment from patients who utilized the
services of the telemedicine company.

39. Part B covered expenses for specified telehealth services if certain
requirements were met. These requirements included that (a) the beneficiary

was located in a rural or health professional shortage area; (b) services were

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delivered via an interactive audio and video telecommunications system; and
(c) the beneficiary was in a practitioner’s office or a specified medical facility -—
not at a beneficiary’s home — during the telehealth consultation with a remote
practitioner.
B. The Conspiracy

40. Beginning in or around November 2012, and continuing through
in or around August 2019, in the Middle District of Florida, and elsewhere, the
defendant,

EDWARD CHRISTOPHER WHITE, JR.,

did willfully and knowingly combine, conspire, confederate, and agree with
others known and unknown to the Grand Jury:

a. to deftaud the United States by impairing, impeding,
obstructing and defeating through deceitful and dishonest
means, the lawful government functions of the United States
Department of Health and Human Services, in its
administration and oversight of Medicare; and the United
States Department of Defense, in its administration and

oversight of TRICARE; and

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b. to commit offenses against the United States, that is:

i. soliciting and receiving remuneration, in violation
of 42 U.S.C. § 1320a-7b(b)(1); and

ii. offering and paying remuneration, in violation of 42
U.S.C. § 1320a-7b(b)(2).

Purpose of the Conspiracy
41. It was the purpose of the conspiracy for the defendant and his co-

conspirators to unlawfully enrich themselves by, among other things: (a)

soliciting and receiving kickbacks and bribes in return for referring TRICARE
and Medicare beneficiaries for compounded medications and genetic testing;
and (b) causing the submission of claims to TRICARE and Medicare for

compounded medications and genetic testing that were medically unnecessary.

Manner and Means of the Conspiracy
42. The manner and means by which the defendant and his co-

conspirators sought to accomplish the object and purpose of the conspiracy
included, among other things, the following:
a. It was part of the conspiracy that EDWARD CHRISTOPHER
WHITE, JR. would and did create and control Mediverse,
Helix, Whitewater, and White Medical.
b. It was further part of the conspiracy that EDWARD
CHRISTOPHER WHITE, JR. would and did conspire with
Moss, Copeland, Gordon, and others to defraud the United

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States, as well as to pay and receive kickbacks and bribes from
TRICARE reimbursements.

c. It was further part of the conspiracy that EDWARD
CHRISTOPHER WHITE, JR., Moss, and other co-
conspirators would and did submit false and fraudulent claims
to TRICARE for expensive compound drugs in order to “test
bill” and learn whether TRICARE would pay a claim for
compounded medication.

d. It was further part of the conspiracy that EDWARD
CHRISTOPHER WHITE, JR., Moss, and other co-
conspirators would and did submit “test bills” to TRICARE to
determine which compounded ingredients would reimburse
the highest.

e. It was further part of the conspiracy that EDWARD
CHRISTOPHER WHITE, JR., Moss, and other co-
conspirators would and did request that doctors sign “Blanket
Letters of Authorization” that purported to authorize FPS
to alter the ingredients of any compounded prescription
without any additional consultation with, or permission

from, the prescribing doctor and without obtaining a new

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prescription, for the purpose of ensuring reimbursement to
FPS from TRICARE and thus maximizing the profitability
of FPS.

f It was further part of the conspiracy that EDWARD
CHRISTOPHER WHITE, JR. and his co-conspirators would
and did cause the submission of false and fraudulent claims to

TRICARE for compounded medications, of which TRICARE

reimbursed approximately $22 million, for medications
purportedly dispensed to TRICARE beneficiaries that WHITE
referred to FPS in exchange for kickbacks.

g. It was further part of the conspiracy that EDWARD
CHRISTOPHER WHITE, JR. would and did solicit and
receive kickbacks from others involved in the compound
pharmacy scheme.

h. It was further part of the conspiracy that on or about June 15,
2015, EDWARD CHRISTOPHER WHITE, JR. would and
did solicit and receive a $4.9 million kickback payment in
exchange for referring TRICARE beneficiaries to FPS.

i. It was further part of the conspiracy that EDWARD

CHRISTOPHER WHITE, JR. and his co-conspirators would

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and did utilize Helix, Whitewater, and White Medical to
recruit Medicare beneficiaries for medically unnecessary CGx
testing.

j. It was further part of the conspiracy that EDWARD
CHRISTOPHER WHITE, JR. and his co-conspirators would
and did refer Medicare beneficiaries to laboratories, including
LabSolutions, MHS, Personalized Genetics, and Trinity for
medically unnecessary CGx testing in exchange for kickbacks
and bribes.

k. It was further part of the conspiracy that EDWARD
CHRISTOPHER WHITE, JR. and his co-conspirators would
and did conceal the kickbacks and bribes by entering into sham
contracts that falsely represented that the laboratories were
paying for hourly marketing services, when, in fact, the
payments were kickbacks and bribes in exchange for
beneficiary referrals to the laboratories.

1. It was further part of the conspiracy that between
approximately January 2017 and August 2019, LabSolutions
would and did receive approximately $19,699,934 from

Medicare for CGx testing for Medicare beneficiaries

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EDWARD CHRISTOPHER WHITE, JR. recruited and
referred.

m.JIt was further part of the conspiracy that Personalized
Genetics, MHS, and Trinity would and did received
approximately $12 million from Medicare for CGx testing for
Medicare beneficiaries that EDWARD CHRISTOPHER
WHITE, JR. recruited and referred.

n. It was further part of the conspiracy that LabSolutions paid
EDWARD CHRISTOPHER. WHITE, JR. or his companies
approximately $15,061,317 in exchange for referring Medicare
beneficiaries to LabSolutions.

o. It was further part of the conspiracy that Personalized
Genetics, MHS, and Trinity paid EDWARD
CHRISTOPHER WHITE, JR. or his companies
approximately $6,541,921, through a third-party company, in
exchange for referring Medicare beneficiaries to Personalized
Genetics, MHS, and Trinity.

Overt Acts
43. In furtherance of the conspiracy, and to accomplish its object and

purpose, at least one co-conspirator committed and caused to be committed, in

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the Middle District of Florida, at least one of the following overt acts, among

others:

a. On or about June 15, 2015, EDWARD CHRISTOPHER
WHITE, JR., through Mediverse, solicited and received
kickbacks and bribes in the amount of $4,940,136.53.

b. On or about April 22, 2015, EDWARD CHRISTOPHER
WHITE, JR. caused the submission of a “Blanket Letter of
Authorization” allowing FPS to alter compound prescriptions
without any further approval from the prescribing doctor.

c. On or about March 16, 2018, EDWARD CHRISTOPHER
WHITE, JR. signed a contract with LabSolutions pursuant to
which LabSolutions agreed to pay EDWARD
CHRISTOPHER WHITE, JR., through White Medical, 45%
of the monthly net revenues paid by Medicare in exchange for
his recruitment and referral of Medicare beneficiaries to
LabSolutions.

d. On or about August 5, 2018, EDWARD CHRISTOPHER.
WHITE, JR. referred beneficiary D.L. to LabSolutions for
CGx testing, along with a doctors’ order authorizing the test in

exchange for kickbacks and bribes.

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e. On or about October 12, 2018, LabSolutions submitted claims
to Medicare seeking approximately $6,470 in reimbursement
for CGx testing purportedly provided to beneficiary D.L., of
which Medicare paid approximately $6,315.

f, Onor about January 10, 2019, LabSolutions paid EDWARD
CHRISTOPHER WHITE, JR., through White Medical,
approximately $1,080,535 in exchange for the referral of
beneficiaries to LabSolutions.

All in violation of 18 U.S.C. § 371.

COUNT TWO
(Receipt of Kickbacks in Connection with a Federal Health Care Program)

44. Paragraphs 1 through 39 of Count One of this Superseding
Information are re-alleged and incorporated by reference as though fully set
forth herein.

45. On or about the date set forth in the count below, in the Middle
District of Florida, and elsewhere, the defendant,

EDWARD CHRISTOPHER WHITE, JR.,
did knowingly and willfully solicit and receive, any remuneration, that is,
kickbacks and bribes, directly and indirectly, overtly and covertly, in cash and
in kind, in return for referring an individual to a person for the furnishing and
arranging for the furnishing of any item and service for which payment may be

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made in whole and in part under a Federal health care program, that is

TRICARE, as set forth below:

 

 

Approx. Date Approx. ae .
Count of Kickback Kickback Descrip ae of Kickback
Payment Amount ym
Payment from Moss to
TWO June 15, 2015 | $4,940,136.53 | EDWARD CHRISTOPHER
WHITE, JR.

 

 

 

 

 

 

In violation of 42 U.S.C. § 1320a-7b(b)(1)(A).
FORFEITURE

46. The allegations contained in Count One and Count Two are
incorporated by reference for the purpose of alleging forfeiture pursuant to 18
U.S.C. § 982(a)(7). ©

47. Upon conviction of the violation of 18 U.S.C. § 371 and 42 U.S.C.
§ 1320-a7b(b)(1)(A), the defendant shall forfeit to the United States, pursuant to
18 U.S.C. § 982(a)(7), any property, real or personal, that constitutes or is
derived, directly or indirectly, from gross proceeds traceable to the commission
of the offense.

48. The property to be forfeited includes, but is not limited to, the
following: $33,321,712, which represents the proceeds of the offense. The assets

to be forfeited specifically include, but are not limited to, the following:

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a. Real property located at 22020 Front Beach Rd, Unit 2, Panama
City Beach, Florida 32413;

b. Real property located at 3232 Magnolia Islands Blvd, Panama
City Beach, Florida 32408;

c. 1985 Cessna Citation SI S550 aircraft, S/N $550-0111, Tail
Number N17LP;

d. 2015 Chevrolet Corvette Stingray 2-door convertible,
VIN 1G1YU3D61F5606404, Florida License Plate #1J51MA;

e. 2014 Mercedes Benz ML 350 SUV, VIN 4J GDASJBXEA351961,
License Plate HLQNY28;

f, 2018 Range Rover, VIN SALWZ2SE4JA184013;
g. 2019 Mercedes-Benz Sprinter Van, VIN WDAPF1ICDXKP051312;

h. $5,312.95 seized from Centennial Bank account number
503081134, held in the name of White Hewitt-Air Corp;

i. $124,280.34 seized from Centennial Bank account number
503088255, held in the name of Christopher White and Brian
Moore;

j. $1,197.00 seized from Centennial Bank account number
503182370, held in the name of D.A.R.C. LLC dba D.A.R.C.

Enterprises;

k. $1,910.42 seized from Centennial Bank account number
503182119, held in the name of White Medical LLC;

1. $9,742.69 seized from Centennial Bank account number
503182905, held in the name of White Oil & Gas LLC;

m. $902.81 seized from Centennial Bank account number 503182348,
held in the name of Whitewater Consulting LLC;

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n. $603,818.00 seized from Regions Bank account number
0263433532, held in the name of The Edward Christopher White,
Jr. Family Protection Trust; and

o. $580,255.00 seized form Pinnacle Bank account number
800105121305, held in the name of The Edward Christopher
White, Jr. Family Protection Trust.

49, If any of the property described above, as a result of any act or
omission of the defendant:

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be

divided without difficulty;

22,

 
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the United States shall be entitled to forfeiture of substitute property under the

provisions of 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1).

KARIN HOPPMANN
Acting United States Attorney

 

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éjandiro J. Salicrup
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Criminal Division, Fraud Section
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Talbot
t United States Attorney
Chief, Jacksonville Division

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